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                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

BURRUS MORTGAGE PORTFOLIO                                           CIVIL ACTION
PARTNERSHIP III, ET AL

VERSUS                                                              NO. 12-1445

NORTHERN BANK LIMITED, ET AL                                        SECTION “N” (5)

                                           ORDER

       Considering the “Motion to Continue Submission Date on Motions to Dismiss” (Rec.

Doc. 134), filed by plaintiffs;

        IT IS ORDERED that the motion (Rec. Doc. 134) is hereby GRANTED IN PART, in

that: 1) the motions to dismiss for lack of personal jurisdiction contained within

“PricewaterhouseCoopers LLP’s (PwC UK) Motion to Dismiss” (Rec. Doc. 109) and

“PricewaterhouseCoopers International Limited’s Motion to Dismiss” (Rec. Doc. 110) are

hereby SEVERED from the motions to dismiss on other grounds contained within such

documents; and 2) the submission date on such motions to dismiss for lack of personal

jurisdiction are hereby CONTINUED to February 20, 2013.

       The motion is DENIED IN PART, in that all other aspects of the motions to dismiss

(Rec. Docs. 109 and 110) shall remain set for submission on January 23, 2013. The “Ex Parte

Motion to Expedite Hearing on Motion to Continue Submission Date on Motions to

Dismiss” (Rec. Doc. 135), filed by plaintiffs, is hereby DENIED AS MOOT.

       New Orleans, Louisiana, this 16th day of January, 2013.



                                                     ____________________________________
                                                     KURT D. ENGELHARDT
                                                     UNITED STATES DISTRICT JUDGE
